Case 2:24-cv-00086-Z            Document 49           Filed 07/12/24        Page 1 of 3          PageID 847

                                  UNITED STATES DISTRICT COURT
                               FOR THE NORTHERN DISTRICT OF TEXAS




The State of Texas                                     §
                 Plaintiff                             §
                                                       §
                                                       §
                     v.                                §     Case No. No. 2:24-cv-00086.
                                                       §
                                                       §
United States of America, et al.,                      §
                 Defendant                             §


                          APPLICATION FOR ADMISSION PRO HAC VICE
                           (Complete all questions; indicate “N/A” if necessary.)

I.       Applicant is an attorney and a member of the law firm of (or practices under the name of)

Binnall Law Group                                                                            , with offices at

717 King Street, suite 200
(Street Address)

Alexandria                                                   VA                     22314
(City)                                                      (State)                 (Zip Code)

 703-888-1943                                                703-888-1930
(Telephone No.)                                              (Fax No.)




II.      Applicant will sign all filings with the name Shawn M. Flynn                                        .


III.     Applicant has been retained personally or as a member of the above-named firm by:
                                         (List All Parties Represented)

Citizens Defending Freedom




to provide legal representation in connection with the above-styled matter now pending before the United
States District Court for the Northern District of Texas.
Case 2:24-cv-00086-Z             Document 49         Filed 07/12/24        Page 2 of 3        PageID 848


IV.      Applicant is a member in good standing of the bar of the highest court of the state of
                                                                                                      For Court Use Only.
                                                                                                      Bar StatusVerified:
                       Florida                       , where Applicant regularly practices law.       _______________


Bar license number:_______________
                    1040911                 Admission date:____________________________
                                                            11/18/2022

Attach to this application an original certificate of good standing issued within the past 90 days from the
attorney licensing authority in a state in which you are admitted to practice (e.g., State Bar of Texas).


V.       Applicant has also been admitted to practice before the following courts:

Court:                                    Admission Date:                            Active or Inactive:

See Attachment A




VI.    Applicant has never involuntarily lost, temporarily or permanently, the right to practice before
any court or tribunal, or resigned in lieu of discipline, except as provided below:

None.




VII.     Applicant has never been subject to grievance proceedings or involuntary removal proceedings—
regardless of outcome—while a member of the bar of any state or federal court or tribunal that requires
admission to practice, except as provided below:
None.




VIII.    Applicant has not been charged, arrested, or convicted of a criminal offense or offenses, except
as provided below (omit minor traffic offenses):
None.
             Case 2:24-cv-00086-Z                 Document 49              Filed 07/12/24             Page 3 of 3            PageID 849


            IX.       Applicant has filed for pro hac vice admission in the United States District Court for the
            Northern District of Texas during the past three (3) years in the following matters:

            Date of Application:                    Case No. And Style:




                                             (If necessary, attach statement of additional applications.)


            X.        Local counsel of record associated with Applicant in this matter is

                                                                                                                      , who has offices at

            Motion to Appear without Local Counsel Granted on 06/10/2024, Docket #34
            (Street Address)



            (City)                                                               (State)                        (Zip Code)



            (Telephone No.)                                                       (Facsimile No.)



            XI.       Check the appropriate box below.
                      For Application in a Civil Case
                                Applicant has read Dondi Properties Corp. v. Commerce Savs. & Loan Ass’n, 121
                                F.R.D.284 (N.D. Tex. 1988) (en banc), and the local civil rules of this court and will
                                comply with the standards of practice adopted in Dondi and with the local civil rules.
                      For Application in a Criminal Case
                                Applicant has read and will comply with the local criminal rules of this court.


            XII.      Applicant respectfully requests to be admitted to practice in the United States District Court for
            the Northern District of Texas for this cause only. Applicant certifies that a true and correct copy of this
            document has been served upon each attorney of record and the original upon the clerk of court,
            accompanied by a $100 filing fee, on this the                       day of July                                   , 2024         .



                                                                                  Shawn M. Flynn
                                                                                  Printed Name of Applicant


                                                                                  Signature
If the applicant files this document through the applicant’s electronic-filing account, the applicant’s typed name on the signature block constitutes the
applicant’s signature. If the applicant does not file this document through the applicant’s electronic-filing account, the applicant must sign on the
signature line.
